Case 3:06-cV-01864-PCD Document 1 Filed 11/17/OF Page 1 of 2

UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT
JEANMARIE CONLON JURY TRIAL DEMANDED
v. CASE NO. 3:06CV

WEST ASSET MANAGEMENT, INC. 3 0 6 C V 0 1 8 6 4 P C D
QOM’L_AM
l. Plaintiff seeks relief pursuant to the Fair Debt Collection Practices Act ("FDCPA"), 15
U.S.C. § 1692; and the Connecticut Unfair Trade Practices Act ("CUTPA"), Conn. Gen. Stat.
§ 42-l lOa.
2. The Court hasjurisdiction. 15 U.S.C. § l692k; 28 U.S.C. §l33l, § 1367.
3. Plaintitf is a natural person who resides in Connecticut.
4. Plaintiff is a consumer within the FDCPA.
5 . Defendant is a debt collector within the FDCPA.
6. Defendant engaged in collection efforts on a personal account in plaintiff ‘s 'name.
7. Defendant did not give plaintiff the required notices

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8. Defendant continued to contact plaintiff alter learning she was represented b)£.counse_Jl:
FIRST COUNT

9. In the collection efforts, defendant violated the FDCPA, inter alia, § 1692e, -f, or -g.
SECOND COUNT

10. Within three years prior to the date of this action defendant committed unfair or deceptive
acts or practices within the meaning of the Unfair Trade Practices Act, Conn. Gen. Stat. § 42-110a et
seq_
WHEREFORE plaintiff respectfully requests this Court to:

I. Award plaintiff such damages as are permitted by law, both compensatory and punitive, including

$1,000 statutory damages for each communication from defendant;

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Case 3:06-cV-01864-PCD Document 1 Filed 11/17/OT3 Page 2 of 2

2. Award the plaintiff costs of suit and a reasonable attorney's fee;

3. Award declaratory and injunctive relief, and such other and further relief as law or equity may

provide.

THE PLAINTIFF

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BY%/s/Zoanne S. Faulkner_
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